Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 1 of 9




                         Exhibit H
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 2 of 9
                            Case 1:25-cv-00748-JKB                                    Document 78-11                          Filed 03/20/25                     Page 3 of 9
Standard Form 50
Rev 7/91
U.S. Office of Personnel Management                                 NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 296-33, Subch. 4
 1. Name (Last, First, Middle)                                                                                 2. Social Security Number                    3. Date of Birth                4. Effective Date
                                                                                                                                                                                            02-11-2025
 FIRST ACTION                                                                                                  SECOND ACTION
 5-A. Code           5-B. Nature of Action                                                                     6-A. Code            6-B. Nature of Action
 385                 TERM DURING PROB/TRIAL PERIOD
 5-C. Code           5-D. Legal Authority                                                                      6-C. Code            6-D. Legal Authority
 L4M                 REG 315.804 EQ
 5-E. Code           5-F. Legal Authority                                                                      6-E. Code            6-F. Legal Authority

 7. FROM: Position Title and Number                                                                            15. TO: Position Title and Number




 8. Pay Plan 9. Occ. Code 10. Grade or Level   11. Step or Rate   12. Total Salary           13. Pay Basis     16. Pay Plan   17. Occ. Code 18. Grade or Level   19. Step or Rate   20. Total Salary             21. Pay Basis
 CN                                                                                            PA                                                                                    .00
 12A. Basic Pay             12B. Locality Adj.            12C. Adj. Basic Pay        12D. Other Pay            20A. Basic Pay              20B. Locality Adj.            20C. Adj. Basic Pay           20D. Other Pay
                                                                                      .00                      .00                         .00                           .00                           .00
 14. Name and Location of Position's Organization                                                              22. Name and Location of Position's Organization
 CONSUMER FINANCIAL PROTECT BUREAU




                                                                                                               FR FT5070000000000000                  PP 03 2025
 EMPLOYEE DATA
 23. Veterans Preference                                                                                       24. Tenure                                   25. Agency Use          26. Veterans Preference for RIF
          1 - None               3 - 10 Point/Disability            5 - 10 Point/Other                                 0 - None      2 - Conditional
          2 - 5 Point            4 - 10 Point/Compensable           6 - 10 Point/Compensable/30%                       1 - Permanent 3 - Indefinite
   1                                                                                                             2                                                                           YES             X      NO
 27. FEGLI                                                                                                     28. Annuitant Indicator                                              29. Pay Rate Determinant
 B0        WAIVED                                                                                               9        NOT APPLICABLE                                              0
 30. Retirement Plan                                    31. Service Comp. Date (Leave)                         32. Work Schedule                                                    33. Part-Time Hours Per Biweekly
  5        OTHER                                                                                                F        FULL TIME                                                           Pay Period

 POSITION DATA
 34. Position Occupied                                              35. FLSA Category                          36. Appropriation Code                                               37. Bargaining Unit Status
       1 - Competitive Service 3 - SES General                               E - Exempt
       2 - Excepted Service    4 - SES Career Reserved                       N - Nonexempt
 2                                                                  N                                                                                                               5899
 38. Duty Station Code                                            39. Duty Station      (City-County-State or Overseas Location)
 11-0010-001                                                                            WASHINGTON DIST OF COLUMBIA DC
 40. Agency Data                     41.                                     42.                         43.                                  44.


 45. Remarks
 E.O. 14210 AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED ADDITIONAL
 DIRECTIVES ON BUREAU ACTIVITIES DTD 2/10/2025.
 HEALTH BENEFITS COVERAGE IS EXTENDED FOR 31 DAYS DURING WHICH YOU ARE
 ELIGIBLE TO CONVERT TO INDIVIDUAL POLICY (NONGROUP CONTRACT). YOU ARE
 ALSO ELIGIBLE FOR TEMP CONTINUATION OF YOUR FEHB COVERAGE FOR UP TO
 18 MTHS

 LUMP-SUM PAYMENT TO BE MADE FOR ANY UNUSED ANNUAL LEAVE.




 46. Employing Department or Agency                                                                            50. Signature/Authentication and Title of Approving Official
 CONSUMER FINANCIAL PROTECTION BUR                                                                             ELECTRONICALLY SIGNED BY:
 47. Agency Code              48. Personnel Office ID               49. Approval Date                          ADAM MARTINEZ
                                                                    02-13-2025                                 ACTING CHIEF HUMAN CAPITAL OFFICER
                                                                                                                                                      Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                                                                                                                                  NSN 7540-01-333-6236
                                                                           1 - Employee Copy - Keep for Future Reference
                     Case 1:25-cv-00748-JKBNOTICE TO EMPLOYEE
                                             Document 78-11 Filed 03/20/25                                                Page 4 of 9
  This is your copy of the official notice of a personnel action. Keep it with your records because it could be used to
                     make employment, pay, and qualifications decisions about you in the future.

The Action                                                                        Block 31 - Service Computation Date (Leave)
- Blocks 5-B and 6-B describe the personnel action(s) that occurred.              - Shows when your Federal service began unless you have prior creditable
- Blocks 15-22 show the position and organization to which you are assigned.      service. If so, this date is constructed to include your total years, months and
                                                                                  days of prior creditable civilian and military service.
                                                                                  - Full-time employees with fewer than 3 years of service earn 4 hours of
Pay                                                                               annual leave each pay period; those with 3 or more years but less than 15
- When the personnel action is an award or bonus, block 20 shows the              years earn 6 hours each pay period; and those with 15 or more years earn 8
amount of that one-time cash payment. When the action is not an award or          hours each pay period
bonus, block 12 shows your former total annual salary, and block 20 shows         - Your earnings and leave statement or your time and attendance card will
your new total annual salary (block 20C plus 20D). The amounts in blocks 12       show the rate at which you earn leave and your current unused leave
and 20 do not include any one-time cash payments (such as performance             balance.
awards and recruitment or relocation bonuses) or payments that may vary
from one pay period to the next (such as overtime pay), or other forms of
premium pay.                                                                      Block 32 - Work Schedule
- Block 20A is the scheduled amount for your grade and step, including any        - Your work schedule is established by your supervisor.
special salary rate you receive. It does not include any locality-based pay.      - A full-time employee works on a prearranged scheduled tour of duty that is
This rate of pay serves as the basis for determining your rate of pay upon        usually 40 hours per week. A part-time employee has a prearranged
promotion, change to a lower grade, or reassignment, and is used for pay          scheduled tour of duty that is usually between 16 and 32 hours per week. An
retention purposes.                                                               intermittent employee has no prearranged scheduled tour of duty and works
- Block 20B is the annual dollar amount of your Interim Geographic Adjust-        when needed.
ment or, beginning in 1994, your locality-based comparability payment.            - Full-time and part-time employees whose appointments are for 90 days or
- Block 20C is your Adjusted Basic Pay, the total of blocks 20A and 20B. It       more are usually eligible to earn annual leave; intermittent employees are
servers as the basis for computing your retirement benefits, life insurance,      not.
premium pay, and severance pay.                                                   - Seasonal employees work on an annually recurring basis for periods of less
- Block 20D is the total dollar amount of any Retention Allowances, Super-        than 12 months each year; they may have a full-time, a part-time, or an
visory Differentials, and Staffing Differentials that are listed in the remarks   intermittent schedule during their work season.
block. These payments are made in the same manner as basic pay, but are           - On-call employees work during periods of heavy workload and are in pay
not a part of basic pay for any purposes.                                         status for a t least 6 months of each year; they may have either a full-time
                                                                                  or a part-time schedule when they are in pay status.
Block 24 - Tenure
- Identifies the nature of your appointment and is used to determine your         Block 33 - Part-time Hours Per Biweekly Pay Period
rights during a reduction in force (RIF). Tenure groups are explained in more     - Indicates the number of hours a part-time employees is scheduled to work
detail in subchapter 26 of FPM Supplement 296-33 and RIF is explained in          during a two-week pay period.
FPM Supplement 351-1; both should be available for review in your personnel
office.
                                                                                  Block 34 - Position Occupied
                                                                                  - Identifies the employment system under which you are serving - the
Block 26 - Veterans Preference for RIF                                            Competitive Service, the Excepted service, or the Senior Executive
- Indicates whether you have preference for reduction-in-force purposes.          Service (SES).
                                                                                  - The employment system determines your eligibility to move to other jobs in
Block 30 - Retirement Plan                                                        the Federal service, your rights in disciplinary and adverse actions, and
- FICA             -Social Security System                                        your eligibility for reemployment if you leave Federal service.
- CS               -Civil Service Retirement System
- CS-Spec          -Civil Service Retirement System for law enforcement           Block 35 - FLSA Category
                    and firefighter personnel                                     - Exempt employees are not covered by the minimum wage and overtime
- FS               -Foreign Service Retirement and Disability System              law (the Fair Labor Standards Act); nonexempt employees are covered.
-FERS              -Federal Employees' Retirement System
-FERS
                                                                                  Block 37 - Bargaining Unit Status
 Reserve
                                                                                  - Identifies a bargaining unit to which you belong; whether or not you are
 Tech              -Federal Employees' Retirement System for National
                                                                                  actually a member of a labor organization. Code "7777" indicates you are
                    Guard Reserve Technicians
                                                                                  eligible but not in a bargaining unit; code "8888" indicates you are ineligible
-FERS
                                                                                  for inclusion in a bargaining unit.
 ATC               -Federal Employees' Retirement System for Air Traffic
                    Controllers
-FERS                                                                             Blocks 38 and 39 - Duty Station
 Spec              -Federal Employees' Retirement System for law                  - Identifies the city, county and state or the overseas location, where you
                    enforcement and firefighter personnel                         actually work.
-FSPS              -Foreign Service Pension System
                                                                OTHER INFORMATION
- If your appointment entitles you to elect health benefits or life insurance,    your dues withheld from your salary.
and you have not been provided materials explaining the programs available        - If you have questions or need more information about your rights and
and the enrollment forms, contact your personnel specialist.                      benefits, ask your supervisor or your personnel office.
-Your personnel specialist will also tell you if your position is covered by an   - Definitions for any coded data in Blocks 1-24, 27-39 and 45-50 may be
agreement between an employee organization (union) and agency. If you are         found in Federal Personnel Manual Supplement 292-1.
eligible to and elect to join an employee organization, you can elect to have
        It is your responsibility to read all the information on the front of this notice and tell your personnel office
                                               immediately if there is an error in it.
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 5 of 9
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 6 of 9
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 7 of 9
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 8 of 9
Case 1:25-cv-00748-JKB   Document 78-11   Filed 03/20/25   Page 9 of 9
